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                                                                          Local Form 4004-5a

                            UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF KENTUCKY
                                   LEXINGTON DIVISION


In re:                                                                     Case No. 13-51530
JERRY L. TOWNSEND




Debtor                                                                     Chapter 13

                              CERTIFICATION OF PLAN COMPLETION
                                 AND REQUEST FOR DISCHARGE


The above-captioned debtor certifies under penalty of perjury that the following are true and correct:

    1.   All plan payments have been completed and the debtor is entitled to a discharge.

    2. Pursuant to 11 U.S.C. § 1328(a), all amounts payable for domestic support obligations, if any,
       due on or before the date set forth below (including any amounts due before the filing of the
       bankruptcy petition to the extent provided for by the plan) have been paid.

         If the debtor was required to pay domestic support obligations, provide the following information:

         Current address of debtor:

         Current employer’s name and address:



    3. The provisions of 11 U.S.C. § 522(q)(1) are not applicable to this case under
       11 U.S.C. § 1328(h) and there are no proceedings pending against the debtor of the kind
       described in 11 U.S.C. § 522(q)(1)(A) or 522(q)(1)(B).

    4. The debtor has not received a discharge in a case filed under chapter 7, 11, or 12 of this title
       during the 4-year period preceding the date of the order for relief under this chapter, or in a case
       filed under chapter 13 of this title during the 2-year period preceding the date of such order.

    5. The debtor has completed an instructional course concerning personal financial management
       pursuant to FRBP 4004(c)(4) (see also FRBP 1007(b)(7)), and has either previously filed Official
       Form 23 so certifying with the Court, or such certification and accompanying documents are
       being contemporaneously filed herewith.

The undersigned requests that a discharge be granted in accordance with 11 U.S.C. § 1328(a).

DATE: February 2, 2018


/s/ Jerry L. Townsend
Debtor                                            Joint Debtor (if any)
